Case 1:18-cV-00295-LY Document 19 Filed 06/04/18 Page 1 of 5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF 'I`EXAS
AUSTIN DIVISION

COlVIlVIUNITY FINANCIAL SERVICES
ASSOCIATION OF AlV[ERICA, LTD., et al.

 

_vs_ Case No_: 1 :18-cv-295-LY

 

CONSUMER FINANCIAL PROTECTION
BUREAU, et al.

 

MOTION FOR ADMISSION PRO IL4C VICE

TO THE HONORABLE JUDGE OF SAlD COURT:

Comes now R€b€¢ca Smll]]ill , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western Distn`ct of
Public Citizen, Inc.. Americans for Financial Refomi

. Education Fund, Center for Responsible Lending, National _ _
Texas pro hac vzce to represent consumerLaw center ln thls case, and Would

respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of)

Public Citizen Litigation Group

With offices at

 

 

Mailing address; 1600 20th Stl'eef NW
City, State, Zip Code: Washillgt°ll» DC 20009
Telephone: (202) 588-1000

 

Facsimile; (202) 588-7795

 

Case 1:18-cV-00295-LY Document 19 Filed 06/04/18 Page 2 of 5

 

 

Since 8/11/2014 , Applicant has been and presently is a member of and in
good standing with the Bar of the State of District of Columbia .
Applicant’s bar license number is 1017451

 

Applicant has been admitted to practice before the following courts:

 

 

 

 

 

 

Court: Admission date:
U.S. Court of Appeals, 9th Cir. 7/10/2007
U.S. Court of Appeals, 6th Cir. 10/8/2008
U.S. Court of Appeals, llth Cir. 11/7/2017
U.S. Court of Appeals, D.C. Cir. 1/31/2018

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

 

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided

below:

 

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

 

10.

Case 1:18-cV-00295-LY Document 19 Filed 06/04/18 Page 3 of 5

Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

\:|

Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.
Applicant has co-counsel in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

 

 

 

Co_counsel; Aaron Johnson, Equal Justice Center
Mailing address; 510 S. Congress Avenue, Suite 206
City, State, Zip Code; Austin, Texas 78704
Telephone: (512) 474-0007

 

Should the Court grant applicant’ s motion, Applicant shall tender the amount of $ l 00.00

pro hac vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable

to: Clerk, U.S. District Court].

Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Western District of Texas.

Case 1:18-cV-00295-LY Document 19 Filed 06/04/18 Page 4 of 5

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Rebecca Smullin to the Western District of Texas pro hac vice

 

for this case only.

Respectfully submitted,

Rebecca Smullin

 

[printed name of Applicant]

MM¢L jaw/01

 

[signature of Applicant]

CERT[FICATE OF SERVICE

 

I hereby certify that I have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the 4th day of
June , 2018

Rebecca Smullin

 

[printed name of Applicant]

aaa auth

[signature of Applicant]

Case 1:18-cV-00295-LY Document 19 Filed 06/04/18 Page 5 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

COMlV[UNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., et al.

 

_VS_ ease No_ 1;18-cv-295-LY

 

CONSUMER FlNANClAL PROTECTION
BUREAU, et al.

 

ORDER

BE IT REMEl\/[BERED on this the day of , 20 , there

was presented to the Court the Motion for Admission Pro Hac Vice filed by
Public Citizen, Inc., Americans for Financial
. _ Reform Education Fund, Center for Responsible
Rebecca Smullin (“Appllcal'lt”), COUnSel for Lending,Nat.ional Consumer Law Center and

the Court, having reviewed the motion, enters the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant
Public Citizen, lnc., Americans for Financial Reform
Education Fund, Center for Responsible Lending,

may appear on behalf of Nm~gnal ggn§nm§, Lm cum in the above case.

IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,
in compliance with Local Court Rule AT-l(f)(?.), immediately tender the amount of $100.00,
made payable to: Clerk, U.S. District Court.

IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and
Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall
register as a filing user Within 10 days of the date of this Order.

IT IS FI`NALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

SIGNED this the day of 20

 

UNITED STATES DISTRICT JUDGE

